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                                    UNITED STATES DISTR ICT C OUR T

                                         DISTR ICT O F N EVAD A

 IJS/Q
                       Plaùztiff
                                                                  DistrictNo. 2:09-CR-113GM N PAL
 VS.


 LUIS VEGA -RUBIO,etal


                       Defendant.

                          ORDER TEM POKAkH,Y IJNSEALING TRANSCRIPT


        OnJune22,2011thiscourtreceived akazkscriptorderform datedJune22,2011requestinga TranRcript of
thehemring heldon Febluary 16,2011from M r.Todd M .I-eventhal,colmqelforDefendantLuisVega-ltubio,in
whicha portion ofthehearingissealed.

        IT IS THE ORDER OF THE COIJRT tbatportion ofthesealedrecording shallbeunsealed bytheClerk
forthelimitedpurposeofproviding atranscdptofhenri
                                                ngasrequested byDefenseCounsel,


         IT IS FIJRTHER ORDERED thattheportionofthesealed recordingshalltllereaAerberesealedbythe
Clerk untilElrtherorderoftllisCourt.

        IT IS FURTHER ORDERED thatDefenseCounselshallnotdisclosethe sealed contentsofthetranscript
to mzyoneoflmrt1:% therepresentativesoftbepartiesdirectly concem edwithtitiscase.


         DA TED this       dayofJtm e,2011.
                                                                            /
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                                                  GloriaM .N avarro
                                                 United StatesDi 'tJudge
